
In re Neslo, Reinier; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. F, No. 276-264.
Relator represents that the district court has failed to act timely on a motion to quash and motion for new trial filed on September 23, 2002; a postconviction application filed April 20, 2004; and a supplemental memorandum filed September 27, 2004. If relator’s representation is correct, the district court is ordered to consider and act on the pleadings. If relator’s representation is incorrect, the district court is ordered to accept, file and act upon the pleadings which are herewith transferred to the district court.' The district court is ordered to provide this Court with a copy of its judgment.
